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                    Exhibit D
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                               1:18-cv-11642

                               Plaintiff,
                                                                     [PROPOSED] ORDER
               -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                               Defendants,
               -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                                Nominal Defendant.


       On December 13, 2018, Plaintiff commenced this action by filing a complaint

against Link Motion          LKM                       ) and individual defendants for, inter

alia, breach of fiduciary duty, unjust enrichment, and securities fraud. ECF No. 1.

       On February 1, 2019, the Court issued an order granting                request for the

appointment of a temporary receiver over the Company. ECF No. 26 (as to the Court-

appointed receiver,                   Moreover, in its ruling, the Court ordered a temporary

restraining order to enjoin Defendants from transferring, liquidating, dissipating, assigning,

and/or granting a lien or security interest or other interest in any assets belonging to the

Company. ECF No. 26.

       On June 18, 2019, the Court approved the Convertible Promissory Note Agreement

between Mr. Lilin Guo                 and the Receiver in order to assist with funding of the

                                                                          . On January 16,
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2020, the Court approved the amended Convertible Promissory Note Agreement between

Mr. Guo and the Receiver. ECF Nos. 119, 120.

       On June 1, 2020, the Receiver submitted a letter application

and requested that the Court approve Mr.                                   option to convert

the Note to Class B Common Equity in accordance with the terms of the Note and to

further approve the Receiver to take the necessary steps to register the converted shares

with the              Cayman Island Registry.

       In light of the above, and upon review of all the papers submitted by the Receiver

in this action and in support of the Application, and with good cause appearing, it is hereby

ORDERED AS FOLLOWS:

       The Receiver is authorized to exercise the rights, powers, and privileges of the
directors of Link Motion, Inc. in order to take all necessary corporate actions on behalf of
the Company to issue and allot the Class B Common Equity shares in accordance with the
terms of the Secured Convertible Promissory Note and to enter, or cause to be entered,



                                                    Secured Convertible Promissory Note
to Class B Common Equity under the name of Mr. Lilin Guo is GRANTED.

       The Receiver is authorized and directed to file with the Grand Court of the Cayman
Islands an application to convert the Secured Convertible Promissory Note to Class B
Common Equity under the name of Mr. Lilin Guo no later than June 30, 2020, and this
Court requests the aid and assistance of the Grand Court of the Cayman Islands in giving
effect to the terms of this Order.
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IT IS SO ORDERED.                  Enter:


Dated: ___________, 2020          __________________________________
                                  Hon. Victor Marrero
                                  United States District Judge
